
PER CURIAM:
The claimants are attorneys who served as counsel for criminal indigents in juvenile, misdemeanor, or felony proceed*248ings pursuant to the provisions of West Virginia Code, Chapter 51, Article 11. Claimants’ fees were denied by the respondent because the fund was exhausted.
The claimants also served as counsel for indigents in Mental Hygiene hearings by appointment of the Circuit Court of Marshall County, West Virginia, pursuant to the provisions of West Virginia Code, Chapter 27, Article 5. This statute provides for the payment of mental hygiene commissioner fees and attorney fees out of the “mental hygiene fund” by the State Auditor. West Virginia Code §27-5-4(i). Claimants’ fees were denied by the respondent as the fund was exhausted.
The factual situations in this claim are identical to that in Richard K. Swartling, et al. v. Office of the State Auditor, 13 Ct.Cl. 57 (1979). Accordingly, awards are made in the amounts indicated below to the claimants.
Needy Persons Fund — award of $1,140.50.
Mental Hygiene Fund — award of $42.50.
